                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            COLUMBIA DIVISION

JACK L. SISK and ELIZABETH M.                 )
SISK,                                         )
      Plaintiffs,                             )
                                              )    CASE NO. 1:10cv6
vs.                                           )
                                              )    JUDGE HAYNES
HI-TECH AMERICA                               )
DEVELOPMENT (HAD) III                         )
CORPORATION, et al,                           )
                                              )
       Defendants.                            )

                     MOTION FOR DEFAULT JUDGMENT
                   AGAINST DEFENDANT RONALD KONITZER


       Plaintiffs, through counsel and pursuant to Fed R. Civ. P. 55, move this

Honorable Court to grant a judgment by default against Defendant Ronald Konitzer.

Plaintiffs would show that Defendant Ronald Konitzer was served by registered mail,

return receipt requested on February 19, 2010 with a summons and a copy of the

Complaint that was filed in this case. Defendant Ronald Konitzer has failed to plead or

otherwise defend in this action. Therefore, good cause exists for this Motion to be

granted.

       Attached is Plaintiffs’ Memorandum in Support of this Motion. If the Court

desires a hearing on this Motion, the Plaintiffs ask that it be set and noticed for a

Columbia date and time that is convenient for the Court.




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                                           Respectfully Submitted:
                                           UAW-GM Legal Services Plan


                                           By:/s/Shearon W. Hales
                                           Shearon W. Hales, BPR# 011184
                                           shearonha@uawlsp.com
                                           3011 Harrah Drive, Suite A
                                           Spring Hill, Tennessee 37174
                                           (615) 302-1443 ext. #230
                                           Attorney for Plaintiffs


                             CERTIFICATE OF SERVICE

        I certify that a true copy of this Motion has been served upon Richard Weldon,
Attorney for Defendant Kenneth Franklin, Jr. and formerly Kenneth Franklin, Sr. now the
Estate of Kenneth Franklin, Sr. at rweldonlaw@verizon.net and Defendant Ronald
Konitzer at 5662 Chancellor Blvd., Vancouver, BC CANADA V6T1E3 on this 1st day of
March, 2011.


                                                  /s/Shearon W. Hales
                                                  Shearon W. Hales




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF TENNESSEE
                            COLUMBIA DIVISION

JACK L. SISK and ELIZABETH M.                 )
SISK,                                         )
      Plaintiffs,                             )
                                              )       CASE NO. 1:10cv6
vs.                                           )
                                              )       JUDGE HAYNES
HI-TECH AMERICA                               )
DEVELOPMENT (HAD) III                         )
CORPORATION, et al.                           )
                                              )
       Defendants.                            )

           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION
          FOR DEFAULT JUDGMENT AGAINST RONALD KONITZER

       Plaintiffs, through counsel and pursuant to Fed R. Civ. P. 55, have good cause to

request that the Court grant a judgment by default against Defendant Ronald Konitzer.

Specifically, Defendant Ronald Konitzer was served, by registered mail, return receipt

requested on February 19, 2010, with a summons and a copy of the Complaint that was

filed in this case in compliance with Fed R. Civ. P. 4 (f). Defendant Ronald Konitzer has

failed to plead or otherwise defend in this action.

                                       LAW

       Fed R. Civ. P. 55(a) and (b) regarding Default provide that:

       (a) Entry. When a party against whom a judgment for affirmative relief is sought
           has failed to plead or otherwise defend as provided by these rules and that fact
           is made to appear by affidavit or otherwise the clerk shall enter the party’s
           default.
       (b) Judgment. Judgment by default may be entered as follows:

               (1) By the Clerk. When the plaintiff’s claim against a defendant is for a
                   sum certain or for a sum which can by computation be made certain,
                   the clerk upon request of the plaintiff and upon affidavit of the amount
                   due shall enter judgment for that amount and costs against the




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                   defendant, if the defendant has been defaulted for failure to appear and
                   is not an infant or incompetent person.

               (2) By the Court. In all other cases the party entitled to a judgment by
                   default shall apply to the court therefor; but no judgment by default
                   shall be entered against an infant or incompetent person unless
                   represented in the action by a general guardian, committee,
                   conservator, or other such representative who has appeared therein. If
                   the person against whom judgment by default is sought has appeared
                   in the action, the party (or, if appearing by representative, the party’s
                   representative) shall be served with written notice of the application
                   for judgment at least 3 days prior to the hearing on such application. If,
                   in order to enable the court to enter judgment or to carry it into effect,
                   it is necessary to take an account or to determine the amount of
                   damages or to establish the truth of any averment by evidence or to
                   make an investigation of any other matter, the court may conduct such
                   hearings or order such references as it deems necessary and proper and
                   shall accord a right of trial by jury to the parties when and as required
                   by any statute of the United States.

                                       FACTS

       The claims alleged in the Plaintiffs’ complaint against Defendant Ronald Konitzer

are racketeering, fraud, breach of contract, and breach of fiduciary duty. Plaintiffs seek a

return of the $49,500.00 in funds which they paid, plus treble damages, prejudgment

interest, the costs of this action and a reasonable attorney’s fee.

                                   ARGUMENT

       Plaintiffs, through counsel, submit to the Court that good cause exists for a

judgment by default to be granted against Defendant Ronald Konitzer because he was

served by registered mail, return receipt requested on February 19, 2010 with a summons

and a copy of the Complaint that was filed in this case and has failed to plead or

otherwise defend in this action.




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                                          Respectfully Submitted:

                                          UAW-GM Legal Services Plan
                                          By:/s/Shearon W. Hales
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                                          shearonha@uawlsp.com
                                          3011 Harrah Drive, Suite A
                                          Spring Hill, Tennessee 37174
                                          (615) 302-1443 ext. #230
                                          Attorney for Plaintiffs


                           CERTIFICATE OF SERVICE

        I certify that a true copy of this Memorandum has been served upon Richard
Weldon, Attorney for Defendant Kenneth Franklin, Jr. and formerly Kenneth Franklin,
Sr. now the Estate of Kenneth Franklin, Sr. at rweldonlaw@verizon.net and Defendant
Ronald Konitzer at 5662 Chancellor Blvd., Vancouver, BC CANADA V6T1E3 on this
1st day of March, 2011.

                                                  /s/Shearon W. Hales
                                                  Shearon W. Hales




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